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 6   Attorneys for Plaintiff
     VICTOR AGUIRRE
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     VICTOR AGUIRRE,                                   Case No.: 2:20-cv-08041 MWF (Ex)
11
12                Plaintiff,
13         vs.                                         NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
14                                                     WITH PREJUDICE
     HONG THUONG LIM D/B/A DIANA
15   LIQUOR & MARKET; NICK KADES,
16   AS TRUSTEE OF NICK KADES AND
     GEORGIA KADES FAMILY TRUST;
17   and DOES 1 to 10,
18
19                Defendants.
20
21         PLEASE TAKE NOTICE that VICTOR AGUIRRE
22   (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
23   voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
24   Procedure Rule 41(a)(1) which provides in relevant part:
25
           (a) Voluntary Dismissal.
26
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
27
                         and any applicable federal statute, the plaintiff may dismiss an action
28
                         without a court order by filing:

                                                   1
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:20-cv-08041-MWF-E Document 15 Filed 12/09/20 Page 2 of 2 Page ID #:61




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: December 9, 2020        SO. CAL. EQUAL ACCESS GROUP
 8
 9                                  By:      /s/ Jason J. Kim
10                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
